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 7   MARCELLE BANAGA
 8                                UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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12                                                         CASE NO.: 2:15-CR-00235-TLN
      UNITED STATES OF AMERICA
13
            PLAINTIFF                                      STIPULATION TO CONTINUE
14                                                         JUDGMENT AND SENTENCING
15                                                         HEARING; ORDER

16     MARCELLE BANAGA
17                     DEFENDANT
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21                                          I.      STIPULATION
22   Defendant Marcelle Banaga by and through his counsel of record and plaintiff United States of

23   America, by and through its counsel of record hereby stipulate as follows:

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            1. By previous order, the judgment and sentencing hearing for Mr. Banaga is currently set for
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     September 19, 2019.
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 378 Filed 09/17/19 Page 2 of 3


 1           2. By this stipulation, the parties jointly request that the judgment and sentencing hearing in
 2   this matter be continued to January 16th, 2020 at 9:30 a.m., and that the dates for preparation of the

 3   sentencing memoranda be reset based on the sentencing date of January 16th, 2020.

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             3. The continuance request is due to Mr. Banaga’s need for additional time to resolve legal
 5
     matters in Romania.
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 8           Dated: 9/16/19

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                                                                     /s/ Alin D. Cintean
10                                                                   Alin D. Cintean
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13                                                                   /s/ Michael M. Beckwith
                                                                     Michael M. Beckwith
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 378 Filed 09/17/19 Page 3 of 3


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                                                     ORDER
 3   This matter came before the Court on the parties' stipulation to request a continuance of the judgment and
 4   sentencing hearing for defendant Marcelle Banaga. For the reasons stated above, and good cause
     showing, the Court GRANTS the parties' request and CONTINUES the judgment and sentencing hearing
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     to January 16th, 2020 at 9:30 a.m. The dates for the preparation of the sentencing memoranda are RESET
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     based on the sentencing date of January 16, 2020.
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 8   IT IS FURTHER ORDERED THAT defendant Banaga shall personally appear January 16, 2020 at 9:30
 9   a.m. in this Court.

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     IT IS SO FOUND AND ORDERED this 16th day of September, 2019
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14                                                               Troy L. Nunley
                                                                 United States District Judge
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
